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                         IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF DELAWARE

VIFOR FRESENIUS MEDICAL CARE                     )
RENAL PHARMA LTD., and VIFOR                     )
FRESENIUS MEDICAL CARE RENAL                     )
PHARMA FRANCE S.A.S.,                            )
                                                 )
               Plaintiffs,                       )
                                                 )
       v.                                        )   C.A. No. 20-911-MN
                                                 )
TEVA PHARMACEUTICALS USA, INC.,                  )
                                                 )
               Defendant.                        )


 DEFENDANT TEVA PHARMACEUTICALS USA, INC.’S DAUBERT MOTION TO
  EXCLUDE THE TESTIMONY OF PLAINTIFFS’ EXPERT DR. ADAM MYERS

       Pursuant to Federal Rules of Evidence 702 and 703, Defendant Teva Pharmaceuticals

USA, Inc. (“Teva”) hereby moves to exclude the expert testimony, opinions and testing of Dr.

Adam Myers concerning infringement of claim 42 of U.S. Patent No. 10,682,376 and claims 12,

19, and 29 of U.S. Patent No. 11,013,761. The grounds for this motion are set forth in Teva’s

opening brief, filed herewith. Pursuant to D. Del. LR 7.1.1, counsel certifies that reasonable

efforts have been made to reach agreement on the subject of this motion.

       WHEREFORE, Teva respectfully requests that the Court grant this motion and enter the

attached proposed order.
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                                         /s/ Nathan R. Hoeschen
                                         John W. Shaw (No. 3362)
                                         Karen E. Keller (No. 4489)
                                         Nathan R. Hoeschen (No. 6232)
                                         SHAW KELLER LLP
                                         I.M. Pei Building
                                         1105 North Market Street, 12th Floor
                                         Wilmington, DE 19801
OF COUNSEL:                              (302) 298-0700
Scott J. Bornstein                       jshaw@shawkeller.com
Richard C. Pettus                        kkeller@shawkeller.com
Julie P. Bookbinder                      nhoeschen@shawkeller.com
Jonathan D. Ball                         Attorneys for Defendant Teva
Cort W. Welch                            Pharmaceuticals USA, Inc.
Giancarlo Scaccia
Jonathan P. Presvelis
GREENBERG TRAURIG LLP
One Vanderbilt Avenue
New York, NY 10017
212-801-9200

Jonathan R. Wise
GREENBERG TRAURIG LLP
2700 Two Commerce Square
2001 Market Street
Philadelphia, PA 19103
(215) 988-7850

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